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EXHIBIT C
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HIGHLY CONFIDENTIAL

December 8, 2023

By Hand Delivery

Mr. Scott McKinney

Superintendent

Delaware Valley Regional High School
19 Senator Stout Road

Frenchtown, NJ 08825

Re. CEASE AND DESIST
=a». Delaware Valley High School Board of Ed. et als.

Our File No. 01195

Dear Mr. McKinney,

This firm has been retained to represent the interests of GiReRe Taps Sinha? «1

his minor daughter, ———_y We have been advised the Delaware Valley Regional
High School District (“District”) has been taking affirmative actions to socially transition amy,

a child who is diagnosed with Asperger’s Syndrome, including facilitating her use of a male
identity at school without parental notice or consent. Moreover, we understand that the District has
been actively concealing such actions from (iis Demand hereby is made that the District
and all of its employees and agents immediately cease and desist from undertaking any and
all such activity.

Mr. (im contends that the District’s actions violate, without limitation, the fundamental
right of parents to care for and raise their children, as set forth by the United States Supreme Court
in Troxel v. Granville, 530 U.S. 57 (2000). As such, the District has and continues to violate Mr.

Fights under the Fourteenth Amendment of the United States Constitution. Mr. Sie

136 Central Avenue, 2nd Floor, Clark, New Jersey 07066 (908) 588-2111

30 Wall Street, 8°" Floor, New York, New York 10005 (Please reply to NJ office)
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Delaware Valley Regional High School District

further contends, without limitation, that the District’s acts violate 20 U.S.C. §3401(3), which
provides: “parents have the primary responsibility for the education of their children, and States,
localities, and private institutions have the primary responsibility for supporting that parental role.”
Thus, to the extent the District contends that state law or policy compels the District to act in the
manner in which it has toward gggmgp, the Supremacy Clause of the United States Constitution
(Art. VI, Cl. 2) provides otherwise. Moreover, Mr. @jiij contends that the District’s actions
otherwise violate the New Jersey Constitution and laws, and public policy and laws of the United

States and of New Jersey.

We look forward to your immediate confirmation that the District and all those acting under
it will comport with this demand, and that all records of the District correctly reflect that Avery is

the child’s name, and that she is a female.

Please be guided accordingly.

Very truly yours,

~ Ronald A. Beruttt

RAB/rp
